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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 JOHN DOE,                                               §
     Plaintiff,                                          §
                                                         §
  v.                                                     §
                                                         §
  TEXAS A&M UNIVERSITY, DAYNA                            §
  FORD, as agent for Texas A&M                           §
  University, ROBIN SHUGLIE, as agent                    §
  for Texas A&M University, GLENN                        §
  STARNES, as agent for Texas A&M                        §       CIVIL ACTION NO. 4:17-cv-02500
  University, MIKE DULKE, as agent for                   §
  Texas A&M University, KYLE                             §
  MCCRACKEN, as agent for Texas A&M                      §
  University, TERRI ALLISON, as agent for                §
  Texas A&M University, JOSHUA                           §
  ISRINGHAUSEN, as agent for Texas                       §
  A&M University, DALE NORRIS, as                        §
  agent for Texas A&M University, and                    §
  ANNE REBER, as agent for Texas A&M                     §
  University,                                            §
        Defendants.                                      §

                       JOINT ADVISORY TO THE COURT AND
                MOTION TO ABATE DEADLINES BY 90 ADDITIONAL DAYS

        Discussions about potential resolution have been productive, and the parties would like to

continue collaboration before incurring additional attorney fees. In the interest of efficiency and

judicial economy, Counsel jointly request an abatement until June 4, 2018 of all deadlines in the

case, specifically including the deadline for Plaintiff’s Response to Defendants’ Motion to

Dismiss.




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Respectfully submitted,

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